UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF TENNESSEE

ALVION PROPERTIES, INC.,
SHIRLEY K. MEDLEY and
HAROLD M. REYNOLDS,
CASE NO.:

 

PLAINTIFFS

vs.
JUDGE

 

BERND H. WEBER,

RAYMONDE WEBER,

CLAUDE J. CHAUVEAU,

GEORGE E. HOWARD,

AMERICAN GULF FINANCE CORP.,
ALVION PARTNERS, LLC,

WEBER, LLC,

AGF REALTY SOLUTIONS, INC.,
TIMEDATA CORPORATION,

TIME DATA HOLDINGS, LLC,

JURY TRIAL DEMANDED

Lr LP Li LP LP LP LH) SP) LP LH LN LP LP LH Lf LP LP SP) SL SL

DEFENDANTS

PLAINTIFFS’ ORIGINAL COMPLAINT AND JURY DEMAND
TO THE HONORABLE UNITED STATES DISTRICT COURT:

Plaintiffs Alvion Properties, Inc. (“Alvion Properties”), Shirley K. Medley (“Medley”)
and Harold M. Reynolds (“Reynolds”) (collectively, “Plaintiffs”) complain of the actions of
Defendants Bernd H. Weber (“Weber”), Raymonde Weber, Claude J. Chauveau (“Chauveau”),
George E. Howard (“Howard”), American Gulf Finance Corp. (“American Gulf’), Alvion
Partners, LLC (“Alvion Partners”), Weber, LLC, AGF Realty Solutions, Inc. (“AGF Realty”),
TimeData Corporation and Time Data Holdings, LLC (together, “TimeData”), (collectively,

“Defendants”), and respectfully show the following:

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INTRODUCTION

1. Plaintiffs bring this case to redress Defendants’ wrongful and unauthorized
misappropriation and use of Alvion Properties and Alvion Properties’ assets, trade name,
confidential and proprietary business information (including appraisals, geology reports, mining
plans, business contacts, financial information and information pertaining to Alvion Properties’
financial dealings), trade secrets and goodwill for Defendants’ personal benefit and to the
Plaintiffs’ financial detriment. Plaintiffs seek actual damages, exemplary damages, punitive
damages, attorneys’ fees, litigation expenses and costs. More important, Plaintiffs seek a
temporary restraining order, preliminary injunction and/or permanent injunction against
Defendants to prevent such wrongful and unauthorized actions in the future.

JURISDICTION AND VENUE

2. This Court has subject matter jurisdiction over Plaintiffs’ claims pursuant to (i) 28
U.S.C. § 1332(a) (diversity) and (ii) 28 U.S.C. § 1367 (supplemental jurisdiction).

3. This Court also has in personam jurisdiction over Defendants because Defendants
were (and continue to be) members of a conspiracy and, at all relevant times, one or more
Defendants committed a substantial tortious act in the Middle District of Tennessee in
furtherance of the conspiracy and/or at all relevant times, one or more Defendants resided,
worked, maintained citizenship, was organized and/or conducted business in the Middle District
of Tennessee.

4, At all relevant times, one or more Defendants resided, worked, maintained
citizenship, was organized and/or conducted business in the Middle District of Tennessee. A

substantial part of Defendants’ wrongful acts and omissions occurred in the Middle District of

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Tennessee. Accordingly, venue is proper in the Middle District of Tennessee pursuant to 28
U.S.C. § 1391(b).
PARTIES

5. Plaintiff Alvion Properties is a Virginia corporation with its principal place of
business in Harrisburg, Illinois. Alvion Properties owns 4500+ acres of coal reserves in Virginia
conservatively valued at approximately $6 billion.

6. Plaintiff Medley is a citizen and resident of Harrisburg, Illinois.

7. Plaintiff Reynolds is a citizen and resident of Dunlap, Tennessee.

8. At all relevant times and continually up through and including the date this
Complaint was filed, Plaintiffs Medley and Reynolds each owned fifty percent (50%) of the
stock of Alvion Properties (and continue to do so).

9. Defendant Weber is a German citizen and resident of Mississauga, Ontario.
Weber formerly was the Chief Financial Officer of Plaintiff Alvion Properties. In that capacity,
Weber (and his alter ego Defendant companies) had unrestricted access to Alvion Properties’
assets, trade name, confidential and proprietary business information (including appraisals,
geology reports, mining plans, business contacts, financial information and information
pertaining to Alvion Properties’ financial dealings), trade secrets and goodwill. Weber also
owned, managed, operated and treated Defendants American Gulf, Alvion Partners, Weber, LLC
and AGF Realty as his personal bank accounts (and continues to do so) in such a way that these
entities are his alter egos because in such entities, corporate formalities are not followed, separate
and distinct books and records are not maintained and/or the entities are undercapitalized. On
information and belief, Weber may be served with Summons and a copy of the Complaint by

serving him at 5230 Hickory Park Drive, Suite A, Glen Allen, Virginia 23059, his principal place

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of business, or 55 Kingsbridge Garden Circle, Suite 702, Mississauga, Ontario Canada L5R 1Y1,
his principal residence.

10. Defendant Raymonde Weber, on information and belief, is the wife of Defendant
Bernd H. Weber and an accomplice and co-conspirator of Defendants Weber, Chauveau and
their respective entities, several of which are named Defendants in this action. Raymonde
Weber, via Weber and his alter ego Defendant companies, had unrestricted access to Alvion
Properties’ assets, trade name, confidential and proprietary business information (including
appraisals, geology reports, mining plans, business contacts, financial information and
information pertaining to Alvion Properties’ financial dealings), trade secrets and goodwill.
Raymonde Weber may be served with Summons and a copy of the Complaint by serving her at
5230 Hickory Park Drive, Suite A, Glen Allen, Virginia 23059, which, on information and
belief, is her principal place of business, or 55 Kingsbridge Garden Circle, Suite 702,
Mississauga, Ontario Canada L5R 1Y1, her principal residence.

11. Defendant Chauveau is a citizen and resident of Portland, Oregon and New York,
New York. Chauveau, via Weber and his alter ego Defendant companies, had unrestricted
access to Alvion Properties’ assets, trade name, confidential and proprietary business
information (including appraisals, geology reports, mining plans, business contacts, financial
information and information pertaining to Alvion Properties’ financial dealings), trade secrets
and goodwill. At all relevant times, Chauveau also owned, managed, operated and treated
Defendants TimeData Corporation and Time Data Holdings, LLC as his personal bank accounts
(and continues to do so) in such a way that these entities are his alter egos because in such
entities, corporate formalities are not followed, separate and distinct books and records are not

maintained and/or the entities are undercapitalized. Chauveau also is a Director of Defendants

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American Gulf and Alvion Partners, which are wholly-owned and controlled by Weber.
Chauveau may be served with Summons and a copy of the Complaint by serving him at 333 NW
git Avenue, No. 411, Portland, Oregon 97209 or 447 West 56" Street, New York, New York
10019, his residences and/or principal places of business.

12. Defendant Howard is a citizen and resident of Kingsport, Tennessee. At all
relevant times, Howard was a consultant for Alvion Properties and had access to Alvion
Properties’ assets, trade name, confidential and proprietary business information (including
appraisals, geology reports, mining plans, business contacts, financial information and
information pertaining to Alvion Properties’ financial dealings), trade secrets and goodwill,
which he now threatens to wrongfully encumber and/or misappropriate for his own financial
benefit. Howard may be served with Summons and a copy of the Complaint by serving him at
1710 Skyland Falls Court, Kingsport, Tennessee, 37664, his principal residence or 1128 Laurel
Street, Webber City, Virginia 24290, his principal place of business.

13. Defendant American Gulf is a corporation organized under the laws of St.
Vincent and the Grenadines. American Gulf is wholly-owned and controlled by Weber.
American Gulf also is the alter ego of Weber in that corporate formalities are not followed,
separate and distinct books and records are not maintained, it is undercapitalized and/or Weber
uses it as his personal bank account. Chauveau is a Director of American Gulf. American Gulf
may be served with Summons and a copy of the Complaint by serving Weber, one of its officers
and/or directors, at 5230 Hickory Park Drive, Suite A, Glen Allen, Virginia 23059, or 55
Kingsbridge Garden Circle, Suite 702, Mississauga, Ontario Canada L5R 1Y1. American Gulf

also may be served with process by serving any officer or registered representative at P.O. Box

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613, Kingstown, St. Vincent & the Grenadines or c/o Weber, Krapp & Kollegen,
Steuerberatungsgesellschaft mbH, Bahnhofstrasse 18, D-59929, Brilon, Germany.

14. Defendant Alvion Partners is a limited liability company organized under the laws
of the State of Delaware. Alvion Partners is wholly-owned and controlled by Weber. Alvion
Partners also is the alter ego of Weber in that corporate formalities are not followed, separate and
distinct books and records are not maintained, it is undercapitalized and/or Weber uses it as his
personal bank account. Chauveau is a Director of Alvion Partners. Alvion Partners may be
served with Summons and a copy of the Complaint by serving Corporation Service Company,
2711 Centerville Road, Suite 400, Wilmington, Delaware 19808, its registered agent for service
of process.

15. Defendant Weber, LLC is a limited liability company organized under the laws of
the State of Delaware. Weber, LLC is wholly-owned and controlled by Weber. Weber, LLC also
is the alter ego of Weber in that corporate formalities are not followed, separate and distinct
books and records are not maintained, it is undercapitalized and/or Weber uses it as his personal
bank account. Weber, LLC may be served with Summons and a copy of the Complaint by serving
Incorporating Services, Ltd., 3500 South Dupont Highway, Dover, Delaware 19901, its
registered agent for service of process.

16. | Defendant AGF Realty is a limited liability company organized under the laws of
the State of Delaware. AGF Realty is wholly-owned and controlled by Weber. AGF Realty also
is the alter ego of Weber in that corporate formalities are not followed, separate and distinct
books and records are not maintained, it is undercapitalized and/or Weber uses it as his personal

bank account. AGF Realty may be served with Summons and a copy of the Complaint by serving

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registered Agents Legal Services, LLC, 1220 N. Market Street, Suite 806, Wilmington, Delaware
19801, its registered agent for service of process.

17. Defendant TimeData Corporation is a corporation organized under the laws of the
State of Delaware. TimeData Corporation is 70% owned and controlled by Chauveau, its
founder and CEO. TimeData Corporation also is the alter ego of Chauveau in that corporate
formalities are not followed, separate and distinct books and records are not maintained, it is
undercapitalized and/or Chauveau uses it as his personal bank account. TimeData Corporation
may be served with Summons and a copy of the Complaint by serving any officer or registered
representative—including Chauveau, its President and CEO—at 447 West 56" Street (1" Floor),
New York, New York 10019, its principal place of business, or by serving The Corporation Trust
Company, Corporation Trust Center, 1209 Orange Street, Wilmington, Delaware 19801, its
registered agent for service of process.

18. Defendant Time Data Holdings, LLC is a limited liability company organized
under the laws of the State of Delaware. Time Data Holdings, LLC is owned and controlled by
Chauveau, its founder and CEO. Time Data Holdings, LLC also is the alter ego of Chauveau in
that corporate formalities are not followed, separate and distinct books and records are not
maintained, it is undercapitalized and/or Chauveau uses it as his personal bank account. Time
Data Holdings, LLC may be served with Summons and a copy of the Complaint by serving any
officer or registered representative—including Chauveau, its President and CEO—at 447 West
56" Street (1° F loor), New York, New York 10019, its principal place of business, or by serving
Corporation Service Company, 2711 Centerville Road, Suite 400, Wilmington, Delaware 19808,

its registered agent for service of process.

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19. Defendants Weber, Raymonde Weber, American Gulf, Alvion Partners, Weber,
LLC and AGF Realty collectively may be referred to as the “Weber Defendants.”

20. Defendants Chauveau and TimeData collectively may be referred to as the
“Chauveau Defendants.”

21. ~All of Defendants’ wrongful actions described herein were committed (and
continue to be committed) by Weber, Raymonde Weber, and/or Chauveau, individually and/or
by and/or through (and/or in concert with) each other, third-party non-Defendants and/or
Defendants American Gulf, Alvion Partners, Weber, LLC, AGF Realty, and/or TimeData.

BACKGROUND FACTS

22. In 1999, Medley and Reynolds purchased all of the stock of Alvion Properties
from Howard in exchange for a two million dollar ($2 million USD) renewable note (the
“Howard Note”). The Howard Note currently is a personal note signed by Medley and Reynolds
in their individual capacities, not collateralized by any Alvion Properties assets and due on
December 31, 2008.

23. After acquiring Alvion, Medley and Reynolds, with Howard serving as a
consultant, made several unsuccessful attempts to structure a financial vehicle to monetize
Alvion Properties’ coal reserves. During 2005, Plaintiffs were introduced to Weber, who
represented to Plaintiffs that he was a successful and experienced international financier capable
of achieving Plaintiffs’ financial goals.

24. Plaintiffs first met with Weber on August 18, 2005 in Nashville, Tennessee.
Their meetings lasted for three days. Prior to the meeting, on June 24, 2005, Weber executed a

confidentiality and non-disclosure agreement with Plaintiffs on behalf of his company, American

Gulf. Pursuant to the agreement, Weber is prohibited from disclosing or revealing to any third

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party any and all confidential information provided by or acquired from Alvion Properties,
including specifically, among other things, all financial information, contract terms, product or
technology information, financing arrangements and information concerning the identity of
financial institutions and business contacts. During the meetings, Plaintiffs explained their
interest in monetizing Alvion Properties’ coal reserves and, based on the non-disclosure
agreement executed by Weber, began to divulge to Weber confidential and proprietary
information about Alvion Properties and themselves, including information about Alvion
Properties’ assets, finances, financial dealings, business contacts, business relationships, trade
secrets and goodwill.

25. During these meetings, and in subsequent meetings in Nashville, Tennessee
(Plaintiffs and Weber frequently met at the Nashville Airport Marriott Hotel as it was convenient
for all of the Parties), Weber repeatedly represented to Plaintiffs and/or led them to believe that
he had numerous contacts in the worldwide capital markets that uniquely positioned him to
successfully complete the project. Weber represented that he and American Gulf had European
partners and institutional partners, which he would work with to monetize the Alvion Properties
coal reserves. More important, Weber continually represented to Plaintiffs and/or led them to
believe that he had their best interests at heart.

26. As a result of Weber’s representations during the August 2005 meetings in
Nashville, Plaintiffs retained Weber via American Gulf as a consultant with the charge to
construct the financial vehicle to monetize Alvion Properties’ coal reserves. On August 18,
2005, at an Alvion Properties Board meeting in Nashville, Weber convinced Plaintiffs that in
order to monetize the coal reserves, Alvion Properties would have to adopt a Board resolution

that he had written and brought to the meeting. The Board resolution granted American Gulf full

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authority to complete suitable arrangements for the funding of Alvion Properties’ projects and
assigned the Alvion Properties’ coal reserves to American Gulf. Based upon Weber’s
representation that the assignment was necessary, Plaintiffs passed the Board resolution
assigning the coal reserves to Weber’s wholly-owned company, American Gulf. The assignment
was later terminated and rescinded on March 7, 2006, after Weber was not successful in
monetizing the coal assets through American Gulf during that time period.

27. Thereafter, on September 14, 2005, Weber prepared and executed an agreement
between Alvion Properties and American Gulf requiring that all external expenses and overhead
incurred to process a transaction to monetize the Alvion Properties coal assets were subject to
written pre-approval by Alvion Properties.

28. On September 22, 2005, and in an effort to bestow upon Weber additional
credibility so that he could better represent Plaintiffs in the worldwide financial markets,
Plaintiffs appointed Weber Director of Finance for Alvion Properties, and on September 27,
2006, appointed Weber Chief Financial Officer (“CFO”) of Alvion Properties.

29. _ Plaintiffs worked closely with Weber on the coal reserve monetization project,
meeting numerous times during 2005-2008 in Nashville to provide Weber with increasing
amounts of confidential and proprietary information about Alvion Properties and themselves, as
well as to review and discuss potential investment vehicles. Weber represented multiple times
that he needed further confidential and proprietary information about Alvion Properties, such as
financial data, financial reports, appraisals, audits, accounting reports, surveys, plans, geology
reports, mining plans, engineering reports and plans, facilities reports and plans, designs, maps,
lay-outs, business contacts, business relationships, and information pertaining to Alvion

Properties’ financial dealings. Based upon the confidentiality and non-disclosure agreement

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Weber executed, and his role as a director and/or officer of Alvion Properties Plaintiffs complied
with Weber’s requests and gave him unfettered access to their confidential and proprietary
information and business contacts. In fact, Plaintiffs and Weber worked so closely together on
the project that they developed relationships of mutual respect and trust to the point that they
became personal friends. Their friendships developed to the point that Weber spent time with
Plaintiffs in their homes.

30. During late 2006, Weber learned about Melland Group, LLC (“Melland”), a
financial consulting company based in Oregon that is the exclusive United States licensee of a
substantial portfolio of financial-based intellectual property (the “Melland Technology”).
Weber, ostensibly on behalf of Plaintiffs, approached Melland to review and evaluate the
Melland Technology with the view of using all or a portion of it as the financial vehicle to
monetize Alvion Properties’ coal reserves.

31. As a condition of accessing the Melland Technology, Weber, on December 27,
2006, and as CFO of Alvion Properties, executed a Confidentiality, Non-Disclosure and Non-
Utilization Agreement (the “CNDA”) with Melland, pursuant to which Weber agreed, among
other things, to:

(1) maintain the confidentiality of the Melland Technology and limit its disclosure;

(ii) not duplicate and/or distribute the Melland Technology for any purpose other than
Melland’s legitimate business purposes; and/or

(iii) not use, discuss and/or disclose the Melland Technology for any purpose without
prior written approval of Melland.

Weber, however, did not tell Plaintiffs about Melland or the Melland Technology until a later

time, and never told Plaintiffs that he had executed the CNDA with Melland on behalf of Alvion

Properties.

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32. Pursuant to the executed CNDA, and throughout the first half of 2007, Melland
disclosed, in detail, to Weber, the intricacies and nuances of the Melland Technology. As part of
his dealings with Melland, Weber met and befriended Chauveau, Melland’s Chief Information
Officer. In addition to serving as the Melland CIO, Chauveau also owned and operated
TimeData, a company that owns and licenses financial time stamping technology (and continues
to do so).

33. It was while learning about the Melland Technology in the first half of 2007 that
Weber, on information and belief, first concocted his scheme to steal the Melland Technology
from Melland, steal Alvion Properties from Medley and Reynolds and steal any proceeds from
Alvion Properties’ use of the Melland Technology to monetize the coal reserves.

34. As part of his scheme, on July 2, 2007, during an Alvion Properties Board .
meeting in Nashville, Weber convinced Plaintiffs that in order to monetize the coal assets,
Alvion Properties would be required to grant unrestricted authority to Weber’s company,
American Gulf, to arrange for the creation of a trust to be collateralized by Alvion Properties’
assets, the costs for which American Gulf would finance. Accordingly, Plaintiffs passed a Board
resolution that Weber had written and brought to the Board meeting granting such authority to
Weber via American Gulf. In fact, Weber repeatedly represented to Medley and Reynolds—
during subsequent meetings in Nashville and/or via the telephone—that the only way he could
demonstrate to the worldwide financial markets that he possessed the necessary Alvion
Properties’ authority to structure an investment vehicle to monetize the coal reserves was for
Medley and Reynolds to execute irrevocable stock transfer agreements in favor of Weber that
irrevocably transferred to Weber the right to “transfer, sell, assign or pledge” the Alvion

Properties stock.

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35. | Medley and Reynolds initially refused to do so, offering instead to travel with
Weber wherever necessary to assure potential banks and financial institutions that Medley and
Reynolds owned Alvion Properties and Weber was fully authorized to negotiate an investment
vehicle to monetize the Alvion Properties’ coal reserves. Weber, however, refused their offer,
told Medley and Reynolds that the banks and other financial institutions would not allow them to
attend meetings and insisted that they execute the irrevocable stock transfers.

36. On July 17, 2007, Weber responded to questions that Plaintiffs asked about
Weber’s current plans to monetize the coal reserves, including a question about what happened if
Weber did not generate a profit for Alvion Properties utilizing the coal reserves. Weber
reassured Plaintiffs that Alvion Properties could demand the return of its assets at any given
time.

37. On September 1, 2007, Weber travelled to Melland’s corporate offices in
Portland, Oregon to further learn about the Melland Technology. Immediately upon his return,
and based on Weber’s repeated representations and assurances that (i) the irrevocable stock
transfers were absolutely necessary for him to structure an investment vehicle to monetize
Alvion Properties’ coal reserves, (ii) the irrevocable stock transfers would be used by Weber
solely for the purpose of structuring the investment vehicle, and (iii) the irrevocable stock
transfers could be voided at any time and would be voided immediately thereafter, Medley and
Reynolds agreed to execute the stock transfers.

38. Weber prepared the one-page “Irrevocable Stock Power Forms.” On September
3, 2007, and without receiving any consideration from Weber or any of the other Defendants,

Medley and Reynolds each executed an “Irrevocable Stock Power Form,” which purport to:

[I]rrevocably constitute and appoint American Gulf Finance Corporation, P.O.
Box 613, Kingstown, St. Vincent & the Grenadines [their] attorney to transfer,

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sell, assign or pledge, all or any portion of the stock described herein, unto any

party under the sole discretion of American Gulf Finance Corporation, with full

power of substitution in the premises.

In other words, rather than transferring to Weber, as CFO of Alvion Properties, the right to
“transfer, sell, assign or pledge” their Alvion Properties stock, Weber required Medley and
Reynolds to transfer the right to “transfer, sell, assign or pledge” their Alvion Properties stock to
Defendant American Gulf, Weber’s wholly-owned corporation. Plaintiffs did so, in part, based
upon Weber’s representation that more than the prior assignment of the coal reserves was needed
to successfully monetize them, the history between the parties of terminating the assignment of
the coal reserves to American Gulf, and Weber’s representation that Alvion Properties could
demand the return of its assets (i.e., the coal reserves) at any time.

39. After participating in multiple in-depth meetings and conferences with Melland to
learn about the Melland Technology, Weber, in November 2007, represented to Melland that
Alvion Properties was prepared to move forward with licensing and implementing the Melland
Technology. Accordingly, on November 6, 2007, Weber, on behalf of American Gulf, entered
into an agreement with Melland, pursuant to which he would cause Alvion Properties to transfer
coal assets into a trust named AGF Resources Trust I, cause Alvion Properties to transfer shares
of Alvion Properties stock to a second trust, and pledge one million dollars worth of Alvion
Properties land to cover “any and all expenses” associated with the project.

40. Similarly, on November 7, 2007, Melland and Weber, signing for Alvion
Properties, entered into a Consulting Agreement, pursuant to which Melland (“Consultant”)
agreed to implement the Melland Technology for Alvion Properties (“Company”). Pursuant to

the terms of the Consulting Agreement, Alvion Properties would secure a billion dollar line of

credit from a consortium of New York banks. Méelland would then apply the Melland

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Technology to the line of credit to yield investment income. The difference between the
investment income and the cost of the line of credit would be the investment profits, which
would then be split by Melland and Alvion Properties pursuant to the terms of the Consulting
Agreement.

41. | Weber used his personal German address as the address to which Melland was to
send all written notices under the Consulting Agreement to Alvion Properties instead of Alvion
Properties’ true corporate address, upon information and belief, in an attempt to hide the
Consulting Agreement from Plaintiffs. Though Plaintiffs later learned that Weber was working
with Melland to devise a plan to monetize the coal reserves, Plaintiffs had no knowledge of the
Consulting Agreement until April 2008.

42. Under the terms of the Consulting Agreement, Melland required a retainer from
Alvion Properties. Weber insisted that Melland invoice Alvion Properties for a retainer in a
higher amount than Melland otherwise needed to cover expenses so that Weber could utilize a
portion of the funds for his own personal benefit. Specifically, Weber required Melland to
include an extra $110,000 for himself, comprised of a $50,000 personal retainer to Weber,
$40,000 to Weber for consulting and $20,000 for Weber’s travel and incidental expenses. At the
same time, Weber directed Melland to include narrative in the invoice to Alvion Properties that
the additional amounts were for services and expenses related to the trust, AGF Resources Trust
I, although the narrative specifically did not mention that the money was being paid to Weber.

43. On October 14, 2007, Plaintiffs established a line of credit for one million dollars
at Farmer’s State Bank in Harrisburg, Illinois, using Alvion Properties’ property as collateral,
based upon Weber’s representations that this money was needed to commence the process of

monetizing the coal reserves. On November 6, 2007, Melland presented Weber with the invoice

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for the retainer that included the $110,000 for Weber, which Weber immediately approved and
submitted to Farmer’s State Bank for payment. Farmers State Bank and Plaintiffs requested
supporting documentation for the invoice. On November 6, 2007, Weber informed them that
there was not any documentation included with the invoice. At the same time, and appearing to
contradict himself, Weber also informed them that no such documentation was available for
review outside of the banking institution, seemingly implying that documentation did exist.
Plaintiffs authorized the Farmer’s State Bank to pay Melland which, in turn, paid Weber the
$110,000.

44, As a result of the Melland/Weber meetings, Weber also represented to Melland
that he could license the Melland Technology to several other companies and financial
institutions based on his contacts in the worldwide financial markets. In that he fashioned
himself a “free agent” in the financial marketplace, Weber suggested the best way for him to go
about securing additional licensing agreements was for Melland to bestow on him a title. Based
on Weber’s representations, Melland appointed Weber Senior Vice-President, Project
Development, in charge of its energy assets division. As a condition of receiving this
appointment, Weber, on October 29, 2007, executed a second CNDA with Melland—this time
on behalf of American Gulf, Weber’s wholly-owned company.

45. On November 26, 2007, Weber, Allain de la Motte (“de la Motte’), the inventor
of the Melland Technology, Robert West (“West”), President of Melland, and Thomas L. Estes
(“Estes”), then acting Melland Chief Investment Officer, traveled to New York for two weeks of
meetings, the principal purpose of which was to engage BNY Mellon to (i) serve as the trustee

for Alvion Properties’ coal assets as part of implementing the Melland Technology, and (ii)

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provide or, alternatively, syndicate with other banks a credit facility utilizing the coal reserves as
collateral. Again, Weber never told Plaintiffs about the meetings.

46. On November 29, 2007, Weber incorporated Alvion Partners, LLC in Delaware,
intentionally choosing a name designed to be confusingly similar and/or associated with Alvion
Properties, without Plaintiffs’ knowledge or authorization. Without Plaintiffs’ knowledge or
authorization, Weber represented on Alvion Partners’ balance sheet that as of December 12,
2007, Alvion Partners owned 100% of the issued and outstanding common shares of Alvion
Properties. Alvion Partners is wholly-owned by Weber. Alvion Properties has never had any
ownership interest in Alvion Partners or vice versa.

47. Despite Weber’s agreement with Plaintiffs that American Gulf would finance all
expenses associated with creating a trust to monetize Alvion Properties’ coal reserves, Weber
systematically charged Alvion Properties for these expenses. In December 2007, pursuant to the
Consulting Agreement, Melland invoiced Alvion Properties for expenses due under Section 4(e)
of the Consulting Agreement. When Weber, on behalf of Alvion Properties, received the
invoice, he required Melland to resubmit the invoice, remove any reference to the Consulting
Agreement and that the expenses were for “prior legal fees” (totaling $135,000), and replace it
with narrative stating that the bill was for services rendered and expenses incurred for pre-
capitalization expenditures for the AGF Resources Trust I.

48. Weber presented Plaintiffs with the revised invoice as part of his ongoing scheme
to hide the Consulting Agreement with Melland from Plaintiffs, as well as to hide the fact that he
was charging Alvion Properties for legal fees associated with the formation of Weber’s
company, Alvion Partners. Similarly, on February 1, 2008, Stephen Field, an attorney for

Melland, invoiced Melland, “on behalf of Alvion Properties,” for legal services including

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charges for the formation of two more of Weber’s wholly-owned companies, AGF Services,
LLC and Alvion Grantor Trust. Weber formed these entities without Plaintiffs’ authorization or
knowledge and reimbursed Melland using Alvion Properties’ funds. At all times, Alvion
Properties has had no ownership interest in AGF Services, LLC and/or the Alvion Grantor Trust
or vice versa.

49, While in New York, on or about December 3, 2007, Weber’s computer crashed.
Chauveau offered to fix it. For several days, Chauveau and Weber worked together on the
computer at Chauveau’s office while de la Motte, West and Estes attended the meetings. While
working on the computer, Weber and Chauveau had ample time to privately discuss and plot
how they could steal, market, license and/or implement the Melland Technology for their own
personal benefit. They also had ample time to discuss how Weber had swindled the irrevocable
stock transfers from Medley and Reynolds and what he planned to do with them.

50. The end result of their discussions was an agreement and scheme to work
together—through their various and myriad wholly-owned companies—to steal the Melland
Technology and steal Alvion Properties from Medley and Reynolds. As part of the scheme,
Weber later named Chauveau to the Board of Directors of both American Gulf and Alvion
Partners.

51. | From December 4-8, 2007, and as part of their scheme to misappropriate the
Melland Technology, Chauveau and Weber engaged de la Motte in numerous in depth
discussions to further learn about de la Motte’s ideas for implementing the Melland Technology
as a partial solution to the global liquidity crisis. During the discussions, de la Motte revealed to

Chauveau and Weber additional intricacies and nuances of the Melland Technology. Out of

these discussions was borne the concept of an institutional capital enhancement funding

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(“ICEF”) program utilizing a derivative of the Melland Technology, which was protected at the
time by five (5) CNDAs executed by Chauveau and Weber (and/or their companies and
principals).

52. In November/December 2007, Weber represented to Plaintiffs that he needed
physical possession of the Alvion Properties original stock certificates to complete monetization
of the coal reserves. Plaintiffs sent the original stock certificates to Weber in Canada. Weber
forwarded the stock certificates to Seward & Kissell, Melland’s New York attorneys. Weber
did not give Plaintiffs the option of sending the stock certificates directly to Seward & Kissell.

53. In early January 2008, Melland initiated discussions with representatives of
Deloitte and Touche, LLP (“Deloitte”) in New York to explore a consultancy with Deloitte
regarding “banking and accounting regulations” relating to the ICEF Program. Melland and
Deloitte ultimately executed a CNDA after several weeks of negotiations. During February
2008, Weber and Chauveau secretly attempted to leverage the Melland/Deloitte relationship by
requesting funds from Medley and Reynolds to secure Deloitte’s endorsement of the ICEF
Program that they, in turn, intended to use in their secret efforts to personally profit from the
Melland Technology.

54. On January 18, 2008, Melland learned that on or about December 19, 2007, while
supposedly working on the Melland/Alvion Properties deal, Weber, without Plaintiffs’
knowledge and/or Melland’s knowledge, surreptitiously executed a CNDA with Commerce
Bancorp in Cherry Hill, New Jersey, by falsely representing to Commerce Bancorp in a letter
that Defendants AGF Realty and Alvion Partners—two of Weber’s wholly-owned companies—
owned a license to the Melland Technology. To add insult to injury, Weber executed the bogus

CNDA in the names of Defendants AGF Realty and Alvion Partners.

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55. At the same time, Weber and Chauveau were out in the financial markets
attempting to license the Melland Technology for their own purposes despite their roles as
officers of Melland and Alvion Properties. Weber and Chauveau approached Melland about
forming a joint venture, to which Melland would transfer the Melland Technology. Recognizing
that it would relinquish significant ownership and control of the Melland Technology to Weber
and Chauveau, Melland declined to enter into the proposed joint venture. As a result, on or
about January 22, 2008, Weber and Chauveau stated their intention to take the Melland
Technology outright and “go it alone” without Melland.

56. That very day, January 22, 2008, and consistent with their threats and stated
intentions, Weber and Chauveau secretly emailed to Brad Henshaw, Senior Vice President of
Farmer’s State Bank in Harrisburg, Illinois, and Plaintiffs’ banker, a portion of the ICEF
Program, thereby misappropriating the Melland Technology and disclosing it without
authorization in violation of their individual CNDAs and the Melland/Alvion Properties
Consulting Agreement.

57. On February 7, 2008, Weber and Chauveau called a meeting with Seward &
Kissell, during which Weber and Chauveau announced they were unilaterally ending their
business relationship with Melland. During the meeting, without Plaintiffs’ knowledge or
authorization, Weber requested that Seward & Kissell, which had been safekeeping Plaintiffs’
Alvion Properties stock certificates (representing 100% of the Alvion Properties stock), give the
certificates to him.

58. On March 12, 2008, Weber met with Plaintiffs in Nashville for an Alvion
Properties Board meeting and represented to Plaintiffs that the Melland deal had fallen through.

Based upon his representations, omissions and concealment, Weber convinced Plaintiffs to adopt

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a Board resolution that he had written and brought to the Board meeting granting Weber, as a
Board member, full and unlimited authority, under his full discretion and judgment, to unwind
business relationships with Melland, its related officers, Seward & Kissell, Stephen Field and
Bank of New York Mellon. Continuing with his scheme, Weber also convinced Plaintiffs that in
order to monetize Alvion Properties’ coal reserves, Weber and/or Alvion Partners required
unlimited authority to direct and complete suitable financial structures collateralized by Alvion
Properties’ assets. Based upon Weber’s continued representations, Plaintiffs passed the Board
resolution that Weber had written and brought to the meeting reflecting these terms.

59. At some time prior to this March 2008 Nashville meeting, Weber informed
Plaintiffs about Alvion Partners and that there were one or more other “Alvion” entities created
in connection with the coal reserve monetization trust. However, Weber did not inform Plaintiffs
that these were his wholly-owned companies. Though Plaintiffs had not given him authorization
to create these “Alvion” entities, based upon Weber’s representations, Plaintiffs were led to
believe that these “Alvion” entities were owned by Alvion Properties.

60. | Notwithstanding their executed Alvion Properties confidentiality and non-
disclosure agreement, CNDAs with Melland and the Melland/Alvion Properties Consulting
Agreement, on March 17, 2008, Defendant Alvion Partners, Weber’s wholly-owned company,
delivered an ICEF Program deal sheet to Farmer’s State Bank claiming that it was developed and
owned by Defendant Alvion Partners. The deal sheet does not mention Melland and/or Alvion
Properties. In an accompanying Power Point presentation, Weber represented to Farmer’s State
Bank that Alvion Partners owned 100% of the issued and outstanding common shares of Alvion

Properties stock.

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61. On March 27, 2008, TimeData invoiced Alvion Properties over $68,000 for
professional services rendered for Phase I of an APInvent Program. Weber approved payment to
Chauveau’s company. However, Plaintiffs did not authorize this payment. Plaintiffs have not
received an APInvent Program from TimeData.

62. | Onor about April 4, 2008, counsel for Plaintiffs received a telephone call from an
attorney for Melland, David Cooper. Upon receipt of the telephone call, when Plaintiffs inquired
as to whether Weber knew David Cooper, Weber instructed Plaintiffs to refrain from any
communications with parties directly or indirectly related to Melland. Through a series of
subsequent conversations in April 2008, Plaintiffs finally learned about the Consulting
Agreement and Weber’s secret scheme began to unravel.

63. On May 7, 2008, Alvion Properties shareholders met in Nashville and adopted
resolutions (i) terminating Weber as an officer and/or director, (ii) rescinding all authority
previously given to Weber and/or his companies pursuant to all oral, written and/or consulting
agreements, board resolutions and/or shareholder actions, (iii) requiring Weber to immediately
cease acting, in any manner and/or capacity, on behalf of or for Alvion Properties, including
using the “Alvion “ name in any capacity, and (iv) requiring Weber to return all proprietary
Alvion Properties information in his possession. Alvion Properties issued notice to Weber of
these resolutions. To date, Weber has not returned any of Alvion Properties’ proprietary
information.

64. In late June 2008, Estes revealed to West, for the first time, that while in New
York in August 2007, he and Chauveau met privately several times to discuss how a particular
application of the Melland Technology (known as the “card game”) could be implemented for

the benefit of TimeData, Chauveau’s company, to assist with raising capital. Estes and

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Chauveau had several follow-up conversations after Estes returned to California. During one of
these telephone conversations, the following exchange took place:

Chauveau: “You know, Tom, we don't need Allain [de la Motte] and Bob
[West] to do this...we can do it without them."

Estes: "...but we owe Bob and Allain.”

Chauveau: "we don't owe them shit.”
This revelation punctuates what happened in reality and proves that the Defendants’ scheme to
misappropriate the Melland Technology and later, Alvion Properties, was in the works and/or
operational at least as early as August 2007.

65. On August 12, 2008, Weber on behalf of American Gulf, notified Plaintiffs that it
had exercised the fraudulently obtained irrevocable stock transfers and American Gulf and
Alvion Partners now owned Alvion Properties. Weber declared that Alvion Properties had
resolved that the stock certificates held by Plaintiffs are null and void and purported to reissue
new certificates to his companies and authorize stock splits. Weber further declared that Alvion
Properties had adopted a resolution absolving him of all fiduciary responsibility he may have or
had to Alvion Properties.

66. During this time, Weber also enlisted the now willing assistance of Howard to do
Weber’s dirty work in connection with the scheme to steal and take control of Alvion Properties
and its coal reserves. Notwithstanding the fact that the Howard Note is not collateralized by any
assets owned by Alvion Properties and the Howard Note is not due and payable until December
31, 2008, Howard now demands that it be paid by September 15, 2008. Howard has repeatedly
threatened Plaintiffs that if the Howard Note is not paid by September 15, 2008, he will “take
them down,” “destroy them,” “go to their bankers and reveal them as frauds,” file an

encumbrance on the land owned by Alvion Properties containing the coal reserves, and further

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interfere with Plaintiffs’ existing prospective business relationships and/or economic
opportunities.

67. Weber also “terminated” Medley and Reynolds from their roles as directors and
officers of Alvion Properties. Weber also declared that all Board resolutions and meeting
minutes since September 3, 2007 were null and void because Medley and Reynolds had no
voting rights since that date, despite the fact that Weber had personally written, advocated and
procured execution of the resolutions and meeting minutes of Alvion Properties by Medley and
Reynolds since September 3, 2007. Weber further declared that he had perfected a lien against
Alvion Properties’ assets under the UCC, filing DCN/Number 08071471820 on July 14, 2008 for
services allegedly rendered to Alvion Properties.

68. Concurrently and since that time, and utilizing the fraudulently obtained
irrevocable stock transfers, Defendants have actively engaged in a scheme to steal and take
control of Alvion Properties by, inter alia, (i) unilaterally and without authorization establishing
a new office for Alvion Properties at 5230 Hickory Park Drive, Suite A, Glen Allen, Virginia
23059, (ii) unilaterally and without authorization contacting the Virginia State Corporation
Commission and removing Medley and Reynolds as officers and directors of Alvion Properties
and installing Weber as President and Chairman of the Board and Raymonde Weber
Secretary/Treasurer, (iii) unilaterally and without authorization changing Alvion Properties’
registered agent in Virginia to Virginia Professional Services, LLC, which also is housed at 5230
Hickory Park Drive, Suite A, Glen Allen, Virginia 23059 and, on information and belief, is
owned and operated by one or more Defendants, (iv) unilaterally and without authorization
contacting Alvion Properties’ banks, including Sovereign Bank and Farmer’s State Bank, and

attempting to freeze and/or confiscate Alvion Properties’ assets, (v) communicating to third

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parties, both orally and in writing, that Defendants—not Medley and Reynolds—own and control
Alvion Properties, (vi) attempting to engage in financial transactions utilizing Alvion Properties’
trade name and assets, and (vii) threatening to encumber (and/or encumbering) the land owned
by Alvion Properties containing the coal reserves without a legal basis to do so, all to the
financial benefit of Defendants and the financial detriment of Plaintiffs.
CLAIMS FOR RELIEF/CAUSES OF ACTION
COUNT I

BREACH OF FIDUCIARY DUTY

(AGAINST ALL DEFENDANTS)

69. The preceding factual statements and allegations are incorporated herein by
reference.

70. Asa former officer of Alvion Properties, Weber (and, by extension, his wholly-
owned companies) had (and continues to have) unrestricted access to Alvion Properties’ assets,
trade name, confidential and proprietary business information (including appraisals, geology
reports, business contacts, financial information and information pertaining to Alvion Properties’
financial dealings), trade secrets and goodwill. As a purported current officer of Alvion
Properties, Raymonde Weber had (and continues to have) unrestricted access to Alvion
Properties’ assets, trade name, confidential and proprietary business information (including
appraisals, geology reports, business contacts, financial information and information pertaining
to Alvion Properties’ financial dealings), trade secrets and goodwill. As an officer of Melland,
Melland’s agent in connection with the Melland/Alvion Properties deal and Weber’s accomplice,
Chauveau (and, by extension, his wholly-owned companies), as well as Howard as a consultant

to Alvion Properties, had (and continue to have) unrestricted access to Alvion Properties’ assets,

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trade name, confidential and proprietary business information (including appraisals, geology
reports, mining plans, business contacts, financial information and information pertaining to
Alvion Properties’ financial dealings), trade secrets and goodwill. As such, Defendants were
(and continue to be) in personal, confidential and fiduciary relationships with Plaintiffs.

71. As fiduciaries, Defendants owed Plaintiffs (i) the commitment to deal fairly and
honestly, (ii) the duties of good faith and undivided loyalty, and (iv) integrity of the strictest kind.
Defendants were (and continue to be) obligated to exercise the highest degree of care in carrying out
their obligations to Plaintiffs under their confidential, special and fiduciary relationships with
Plaintiffs.

72. Asan officer of Alvion Properties, Weber owed Plaintiffs the duty to discharge all
duties in good faith, with the care an ordinarily prudent person in a like position would exercise
under similar circumstances and in a manner the officer reasonably believes to be in the best interest
of Alvion Properties, pursuant to Tenn. Code §48-18-403 (2008).

73. Defendants breached (and continue to breach) their fiduciary duties to Plaintiffs
by, inter alia, (i) unilaterally and without authorization establishing a new office for Alvion
Properties at 5230 Hickory Park Drive, Suite A, Glen Allen, Virginia 23059, (ii) unilaterally and
without authorization contacting the Virginia State Corporation Commission and removing
Medley and Reynolds as officers and directors of Alvion Properties and installing Weber as
President and Chairman of the Board and Raymonde Weber Secretary/Treasurer, (iii) unilaterally
and without authorization changing Alvion Properties’ registered agent in Virginia to Virginia
Professional Services, LLC, which also is housed at 5230 Hickory Park Drive, Suite A, Glen
Allen, Virginia 23059 and, on information and belief, is owned and operated by one or more

Defendants, (iv) unilaterally and without authorization contacting Alvion Properties’ banks and

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attempting to freeze and/or confiscate Alvion Properties’ assets, (v) communicating to third
parties, both orally and in writing, that they—not Medley and Reynolds—own and control
Alvion Properties, (vi) attempting to engage in financial transactions utilizing Alvion Properties’
trade name and assets, and (vii) threatening to encumber (and/or encumbering) the land owned
by Alvion Properties containing the coal reserves without a legal basis to do so, all to the
financial benefit of Defendants and the financial detriment of Plaintiffs.

74. To the extent that any Defendants are fiduciaries who did not breach their
fiduciary duties to plaintiffs, such Defendants are nonetheless liable because they had knowledge
of the breaches of fiduciary duties committed by other fiduciaries, and did not make reasonable
efforts under the circumstances to remedy such fiduciary breaches.

75. To the extent that any Defendants are not fiduciaries, such Defendants
nevertheless incurred fiduciary liability in that they engaged in transactions with breaching
fiduciaries under circumstances in which they knew (or should have known) about such fiduciary
breaches.

76. Defendants breached their fiduciary duties to Plaintiffs through the wrongful actions
set forth above. Defendants willfully and wantonly breached their fiduciary duties to Plaintiffs or, at
the very least, committed these breaches with conscious indifference and reckless disregard of
Plaintiffs’ rights and interests. Defendants’ prior and ongoing wrongful actions constitute breach of

fiduciary duty at Tennessee law.
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COUNT II

FRAUD, CONSTRUCTIVE FRAUD AND/OR
FRAUDULENT CONCEALMENT

(AGAINST ALL DEFENDANTS)

77. The preceding factual statements and allegations are incorporated herein by
reference.

78. In order to secure the irrevocable stock transfers from Medley and Reynolds, Weber
repeatedly represented to and assured Medley and Reynolds that, inter alia: (i) he was a
successful, well-connected and experienced international financier capable of achieving
Plaintiffs’ financial goals, (ii) he had Plaintiffs’ best interests at heart, (iii) the irrevocable stock
transfers were absolutely necessary for him to structure an investment vehicle to monetize
Alvion Properties’ coal reserves, (iv) Weber would use the irrevocable stock transfers solely for
the purpose of structuring the investment vehicle, and (v) Weber would void the irrevocable
stock transfers immediately thereafter. Weber’s representations were material to the decision by
Medley and Reynolds to (i) retain Weber as a consultant, (ii) later name him the Alvion
Properties CFO, (iii) grant Weber unrestricted access to Alvion Properties’ assets, trade name,
confidential and proprietary business information (including appraisals, geology reports, mining
plans, business contacts, financial information and information pertaining to Alvion Properties’
financial dealings), trade secrets and goodwill, and (iv) execute the irrevocable stock transfers in
favor of Weber and/or his wholly-owned companies.

79. | Weber made the above false representations to Medley and Reynolds with the
intent that they rely upon them and with full knowledge that such representations were false
when made. Medley and Reynolds relied on Weber’s material and false representations when

deciding to (i) retain Weber as a consultant, (ii) later name him the Alvion Properties CFO, (iii)
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grant Weber unrestricted access to Alvion Properties’ assets, trade name, confidential and
proprietary business information (including appraisals, geology reports, mining plans, business
contacts, financial information and information pertaining to Alvion Properties’ financial
dealings), trade secrets and goodwill, and (iv) execute the irrevocable stock transfers in favor of
Weber and/or his wholly-owned companies. As a direct and/or proximate result, Medley and
Reynolds suffered (and continue to suffer) damages in the form of, inter alia, Defendants (i)
unilaterally and without authorization establishing a new office for Alvion Properties at 5230
Hickory Park Drive, Suite A, Glen Allen, Virginia 23059, (ii) unilaterally and without
authorization contacting the Virginia State Corporation Commission and removing Medley and
Reynolds as officers and directors of Alvion Properties and installing Weber as President and
Chairman of the Board and Raymonde Weber Secretary/Treasurer, (iii) unilaterally and without
authorization changing Alvion Properties’ registered agent in Virginia to Virginia Professional
Services, LLC, which also is housed at 5230 Hickory Park Drive, Suite A, Glen Allen, Virginia
23059 and, on information and belief, is owned and operated by one or more Defendants, (iv)
unilaterally and without authorization contacting Alvion Properties’ banks and attempting to
freeze and/or confiscate Alvion Properties’ assets, (v) communicating to third parties, both orally
and in writing, that they—not Medley and Reynolds—own and control Alvion Properties, (vi)
attempting to engage in financial transactions utilizing Alvion Properties’ trade name and assets,
and (vii) threatening to encumber (and/or encumbering) the land owned by Alvion Properties
containing the coal reserves without a legal basis to do so, all to the financial benefit of
Defendants and the financial detriment of Plaintiffs.

80. By virtue of their personal, confidential, special and fiduciary business

relationships with Defendants, Plaintiffs trusted and relied on Defendants to safeguard Alvion

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Properties’ assets, trade name, confidential and proprietary business information (including
appraisals, geology reports, mining plans, business contacts, financial information and
information pertaining to Alvion Properties’ financial dealings), trade secrets and goodwill.
Defendants, as fiduciaries, had the duty to Plaintiffs to act in Plaintiffs’ best interests. Plaintiffs,
therefore, were in confidential and special business relationships with Defendants that required
Defendants not to misappropriate, abstract, use and/or disseminate Alvion Properties’ assets,
trade name, confidential and proprietary business information (including appraisals, geology
reports, mining plans, business contacts, financial information and information pertaining to
Alvion Properties’ financial dealings), trade secrets and goodwill and/or wrongfully steal and/or
take control of Alvion Properties (and kept the resulting financial benefits). Defendants,
however, intentionally disregarded and/or refused to fulfill their duties to Plaintiffs and
misappropriated, abstracted, used and/or disseminated Alvion Properties’ assets, trade name,
confidential and proprietary business information (including appraisals, geology reports, mining
plans, business contacts, financial information and information pertaining to Alvion Properties’
financial dealings), trade secrets and goodwill and/or wrongfully stole and taken control of
Alvion Properties (and kept the resulting financial benefits) (and continue to do so).

81. Defendants also concealed their wrongful actions until a significant amount of the
damage to Plaintiffs was done. All of the above facts were material to the participation (and
continued participation) of Plaintiffs in their business relationships with Defendants, including,
inter alia, Plaintiffs’ decision to (i) retain Weber and Howard as consultants, (ii) later name
Weber the Alvion Properties CFO, (iii) grant Weber and Howard unrestricted access to Alvion
Properties’ assets, trade name, confidential and proprietary business information (including

appraisals, geology reports, mining plans, business contacts, financial information and

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information pertaining to Alvion Properties’ financial dealings), trade secrets and goodwill, and
(iv) execute the irrevocable stock transfers in favor of Weber and/or his wholly-owned
companies.

82. By virtue of the confidential relationships between Plaintiffs and Defendants,
Defendants had a duty to disclose the above concealed material facts to Plaintiffs including the
fact that they are working together to Plaintiffs’ financial detriment. Their deliberate silence,
when they had a duty to speak, and the resulting nondisclosure of the above concealed material
facts, is the equivalent of false representations and/or omissions. Such false representations
and/or omissions were made knowingly and intentionally or, at the very least, in reckless
disregard of Plaintiffs’ rights and interests.

83. Plaintiffs justifiably relied on Defendants” false representations and/or omissions
to their detriment by, inter alia, (i) retaining Weber and Howard as consultants, (ii) later naming
Weber the Alvion Properties CFO, (iii) granting Weber and Howard unrestricted access to
Alvion Properties’ assets, trade name, confidential and proprietary business information
(including appraisals, geology reports, mining plans, business contacts, financial information and
information pertaining to Alvion Properties’ financial dealings), trade secrets and goodwill, and
(iv) executing the irrevocable stock transfers in favor of Weber and/or his wholly-owned
companies. As a direct and proximate result of Defendants’ wrongful acts, Plaintiffs, in fact, (i)
retained Weber and Howard as consultants, (ii) later named Weber the Alvion Properties CFO,
(iii) granted Weber and Howard unrestricted access to Alvion Properties’ assets, trade name,
confidential and proprietary business information (including appraisals, geology reports, mining
plans, business contacts, financial information and information pertaining to Alvion Properties’

financial dealings), trade secrets and goodwill, and (iv) executed the irrevocable stock transfers

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in favor of Weber and/or his wholly-owned companies.. Defendants’ wrongful actions constitute
fraud and/or constructive fraud at Tennessee common law.

$4. Defendants concealed their wrongful actions with the intent to mislead and
defraud Plaintiffs. Plaintiffs were not aware of, nor, through the exercise of due diligence, could
have become aware of Defendants’ wrongful actions until such wrongful actions were committed
and brought to light by third parties. Due to the Parties’ personal, confidential and special
business relationships, which were predicated on their mutual trust and confidence, and
Defendants’ superior knowledge and/or means of knowledge, Defendants had a duty to disclose
to Plaintiffs the above material false information. Defendants’ failure to do so constitutes
fraudulent concealment at Tennessee common law.

COUNT Ill
MISAPPROPRIATION OF TRADE SECRETS
(AGAINST ALL DEFENDANTS)

85. The preceding factual statements and allegations are incorporated herein by |
reference.

86.  Alvion Properties’ confidential and proprietary business information (including
financial data, financial reports, appraisals, audits, accounting reports, surveys, plans, geology
reports, mining plans, engineering reports and plans, facilities reports and plans, designs, maps,
lay-outs, business contacts, business relationships, and information pertaining to Alvion
Properties’ financial dealings) and goodwill collectively constitute trade secrets pursuant to
Tenn. Code §47-25-1702 (2008). Plaintiffs made efforts that are reasonable under the
circumstances to maintain the secrecy of the Alvion Properties’ trade secrets under Tenn. Code

§47-25-1702 (2008). Plaintiffs derive independent economic value, actual or potential, from

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Alvion Properties’ trade secrets not being generally known to the public or to other persons who
could obtain economic value from their disclosure or use. Tenn. Code §47-25-1702 (2008).

87. Defendants misappropriated (and continue to misappropriate and wrongfully
abstract, use and/or disseminate) Alvion Properties’ trade secrets, within the meaning of Tenn.
Code §47-25-1702 (2008) by, inter alia, (i) acquiring Alvion Properties’ trade secrets by
improper means including misrepresentation, breach and/or inducement of a breach of a duty to
maintain secrecy and limit use, (ii) disclosing and/or using Alvion Properties’ trade secrets
without Alvion Properties’ express or implied consent and/or (iii) acquiring the trade secret
information through improper means.

88. Defendants knew and/or had reason to know that the trade secret information was
acquired under circumstances giving rise to a duty to maintain its secrecy or limit its use, or
derived from or through a person who owed a duty to the person seeking relief to maintain its
secrecy or limit its use, by: (i) unilaterally and without authorization establishing a new office for
Alvion Properties at 5230 Hickory Park Drive, Suite A, Glen Allen, Virginia 23059, (ii)
unilaterally and without authorization contacting the Virginia State Corporation Commission and
removing Medley and Reynolds as officers and directors of Alvion Properties and installing
Weber as President and Chairman of the Board and Raymonde Weber Secretary/Treasurer, (ili)
unilaterally and without authorization changing Alvion Properties’ registered agent in Virginia to
Virginia Professional Services, LLC, which also is housed at 5230 Hickory Park Drive, Suite A,
Glen Allen, Virginia 23059 and, on information and belief, is owned and operated by one or
more Defendants, (iv) unilaterally and without authorization contacting Alvion Properties’ banks

and attempting to freeze and/or confiscate Alvion Properties’ assets, (v) communicating to third

parties, both orally and in writing, that they—not Medley and Reynolds—own and control

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Alvion Properties, (vi) attempting to engage in financial transactions utilizing Alvion Properties’
trade name and assets, and (vii) threatening to encumber (and/or encumbering) the land owned
by Alvion Properties containing the coal reserves without a legal basis to do so, all to the
financial benefit of Defendants and the financial detriment of Plaintiffs.

89. Defendants’ prior and ongoing wrongful actions constitute the misappropriation
of trade secrets in violation of Tenn. Code §47-25-1702 (2008). |

90. Defendants’ misappropriation has been (and continues to be) willful and
malicious.

91. Defendants’ misappropriation has resulted in Plaintiffs’ financial detriment and
will continue to do so unless and until enjoined by this Court.

COUNT IV
INTENTIONAL INTERFERENCE WITH EXISTING BUSINESS RELATIONSHIPS
(AGAINST ALL DEFENDANTS)

92. The preceding factual statements and allegations are incorporated herein by
reference.

93. | Defendants intended to interfere and, in fact interfered with Alvion Properties’
existing business relationships with (i) Melland in connection with the Melland/Alvion
Properties deal to monetize the coal reserves, (ii) Medley and Reynolds as its officers, directors
and shareholders, and (iii) its lenders and/or other financial institutions and/or other third parties
by, inter alia, (i) unilaterally and without authorization establishing a new office for Alvion
Properties at 5230 Hickory Park Drive, Suite A, Glen Allen, Virginia 23059, (ii) unilaterally and
without authorization contacting the Virginia State Corporation Commission and removing

Medley and Reynolds as officers and directors of Alvion Properties and installing Weber as

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President and Chairman of the Board and Raymonde Weber Secretary/Treasurer, (iii) unilaterally
and without authorization changing Alvion Properties’ registered agent in Virginia to Virginia
Professional Services, LLC, which also is housed at 5230 Hickory Park Drive, Suite A, Glen
Allen, Virginia 23059 and, on information and belief, is owned and operated by one or more
Defendants, (iv) unilaterally and without authorization contacting Alvion Properties’ banks and
attempting to freeze and/or confiscate Alvion Properties’ assets, (v) communicating to third
parties, both orally and in writing, that they—not Medley and Reynolds—own and control
Alvion Properties, (vi) attempting to engage in financial transactions utilizing Alvion Properties’
trade name and assets, and (vii) threatening to encumber (and/or encumbering) the land owned
by Alvion Properties containing the coal reserves without a legal basis to do so, all to the
financial benefit of Defendants and the financial detriment of Plaintiffs.

94. Defendants interfered with Alvion Properties’ existing business relationships with
Melland, Medley and Reynolds, its lenders, other financial institutions and/or other third parties
through improper means and/or for improper purposes. Defendants’ interference harmed one or
more business relationships between Alvion Properties and Melland, Medley and Reynolds, its
lenders, other financial institutions and/or other third parties, and will continue to harm such
existing business relationships and damage Alvion Properties unless enjoined by this Court.
Defendants’ wrongful actions constitute tortuous interference with existing business

relationships at Tennessee common law.

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COUNT V
BREACH OF THE DUTY OF GOOD FAITH AND FAIR DEALING
(AGAINST ALL DEFENDANTS)

95. The preceding factual statements and allegations are incorporated herein by
reference.

96. Defendants’ wrongful actions were committed during the time they were engaged
in personal, confidential, fiduciary and/or special business relationships with Plaintiffs. As such,
Defendants’ wrongful actions also constitute breaches of the duty of good faith and fair dealing
owed by Defendants to Plaintiffs at Tennessee common law.

COUNT VI
CONVERSION
(AGAINST ALL DEFENDANTS)

97. The preceding factual statements and allegations are incorporated herein by
reference.

98. By wrongfully and improperly misappropriating, abstracting, using and/or
disseminating Alvion Properties’ assets, trade name, confidential and proprietary business
information (including appraisals, geology reports, mining plans, business contacts, financial
information and information pertaining to Alvion Properties’ financial dealings), trade secrets
and goodwill and/or doing so after lawfully obtaining unrestricted access to Alvion Properties’
assets, trade name, confidential and proprietary business information (including appraisals,
geology reports, mining plans, business contacts, financial information and information
pertaining to Alvion Properties’ financial dealings), trade secrets and goodwill, Defendants are

wrongfully exercising dominion and control over Alvion Properties’ assets, trade name,

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confidential and proprietary business information (including appraisals, geology reports, mining
plans, business contacts, financial information and information pertaining to Alvion Properties’
financial dealings), trade secrets and goodwill in defiance of Plaintiffs’ right to possess and use
such assets, trade name, confidential and proprietary business information (including appraisals,
geology reports, mining plans, business contacts, financial information and information
pertaining to Alvion Properties’ financial dealings), trade secrets and goodwill. Defendants have
refused (and continue to refuse) Plaintiffs’ demands to stop misappropriating, abstracting, using
and/or disseminating Alvion Properties’ assets, trade name, confidential and proprietary business
information (including appraisals, geology reports, mining plans, business contacts, financial
information and information pertaining to Alvion Properties’ financial dealings), trade secrets
and goodwill. Defendants’ wrongful acts constitute conversion at Tennessee common law.
COUNT VII
BREACH OF CONTRACT
(AGAINST THE WEBER DEFENDANTS AND HOWARD)

99. The preceding factual statements and allegations are incorporated herein by
reference.

100. The confidentiality and non-disclosure agreement between Plaintiffs and Weber
(and, by extension, the other Weber Defendants) is a viable and enforceable contract. Pursuant
to the agreement, Weber (and, by extension, the other Weber Defendants) agreed not to disclose
Alvion Properties’ assets, trade name, confidential and proprietary business information
(including appraisals, geology reports, mining plans, business contacts, financial information and

information pertaining to Alvion Properties’ financial dealings), trade secrets and goodwill.

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101. Likewise, the actual and/or implied agreement between Plaintiffs and Howard, as
Alvion Properties’ consultant, to not wrongfully abstract, use and/or disseminate Alvion
Properties’ assets, trade name, confidential and proprietary business information (including
appraisals, geology reports, mining plans, business contacts, financial information and
information pertaining to Alvion Properties’ financial dealings), trade secrets and goodwill that
Howard received from Plaintiffs as a consultant to Alvion Properties is a viable and enforceable
contract. The Weber Defendants and Howard breached (and continue to breach) the above
agreements by, inter alia, wrongfully abstracting, using and/or disseminating Alvion Properties’
assets, trade name, confidential and proprietary business information (including appraisals,
geology reports, mining plans, business contacts, financial information and information
pertaining to Alvion Properties’ financial dealings), trade secrets and goodwill, within the
meaning of Tennessee law by, inter alia, (i) unilaterally and without authorization establishing a
new office for Alvion Properties at 5230 Hickory Park Drive, Suite A, Glen Allen, Virginia
23059, (ii) unilaterally and without authorization contacting the Virginia State Corporation
Commission and removing Medley and Reynolds as officers and directors of Alvion Properties
and installing Weber as President and Chairman of the Board and Raymonde Weber
Secretary/Treasurer, (iii) unilaterally and without authorization changing Alvion Properties’
registered agent in Virginia to Virginia Professional Services, LLC, which also is housed at 5230
Hickory Park Drive, Suite A, Glen Allen, Virginia 23059 and, on information and belief, is
owned and operated by one or more Defendants, (iv) unilaterally and without authorization
contacting Alvion Properties’ banks and attempting to freeze and/or confiscate Alvion
Properties’ assets, (v) communicating to third parties, both orally and in writing, that they—not

Medley and Reynolds—own and control Alvion Properties, (vi) attempting to engage in financial

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transactions utilizing Alvion Properties’ trade name and assets, and (vii) threatening to encumber
(and/or encumbering) the land owned by Alvion Properties containing the coal reserves without
a legal basis to do so, all to the financial benefit of Defendants and the financial detriment of
Plaintiffs. Defendants’ prior and ongoing wrongful actions constitute breach of contract at
Tennessee common law.

102. In the alternative, and to the extent the Irrevocable Stock Power Forms (i.e., the
irrevocable stock transfers) executed by Medley and Reynolds constitute valid contracts between
Medley and Reynolds, on the one hand, and Weber, on the other hand—which they do not, for
example, because they are not supported by any consideration given by Weber and were
obtained by fraud—the Weber Defendants breached such contracts by using them as the basis for
(i) unilaterally and without authorization establishing a new office for Alvion Properties at 5230
Hickory Park Drive, Suite A, Glen Allen, Virginia 23059, (ii) unilaterally and without
authorization contacting the Virginia State Corporation Commission and removing Medley and
Reynolds as officers and directors of Alvion Properties and installing Weber as President and
Chairman of the Board and Raymonde Weber Secretary/Treasurer, (iii) unilaterally and without
authorization changing Alvion Properties’ registered agent in Virginia to Virginia Professional
Services, LLC, which also is housed at 5230 Hickory Park Drive, Suite A, Glen Allen, Virginia
23059 and, on information and belief, is owned and operated by one or more Defendants, (iv)
unilaterally and without authorization contacting Alvion Properties’ banks and attempting to
freeze and/or confiscate Alvion Properties’ assets, (v) communicating to third parties, both orally
and in writing, that they—not Medley and Reynolds—own and control Alvion Properties, (vi)
attempting to engage in financial transactions utilizing Alvion Properties’ trade name and assets,

and (vii) threatening to encumber (and/or encumbering) the land owned by Alvion Properties

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containing the coal reserves without a legal basis to do so, all to the financial benefit of
Defendants and the financial detriment of Plaintiffs.

103. The irrevocable stock transfers were executed in favor of Weber and/or his
wholly-owned companies for one reason and one reason only: to structure a financial vehicle to
monetize Alvion Properties’ coal reserves. Once that goal was accomplished (or not
accomplished), the irrevocable stock transfers were to be destroyed—not used as the basis for
stealing Alvion Properties from Medley and Reynolds. Thus, and in the alternative should the
irrevocable stock transfers be found to be viable and enforceable contracts between the Parties,
Defendants’ prior and ongoing wrongful actions as to the irrevocable stock transfers also
constitute breach of contract at Tennessee common law.

COUNT VIII
CIVIL CONSPIRACY
(AGAINST ALL DEFENDANTS)

104. The preceding factual statements and allegations are incorporated herein by
reference.

105. Defendants (and possibly others), either working together as a combined group or
in sub-combinations of two or more, affirmatively conspired to engage in the wrongful actions
set forth above. Defendants, therefore, conspired to commit the wrongful actions outlined in
Counts I-VII, above, all of which directly and proximately caused Plaintiffs to sustain actual and
consequential damages. Defendants’ wrongful actions constitute civil conspiracy at Tennessee

common law.

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COUNT IX
UNJUST ENRICHMENT
(AGAINST ALL DEFENDANTS)

106. The preceding factual statements and allegations are incorporated herein by
reference.

107. Defendants, at the very least, have been (and continue to be) unjustly enriched by
(i) Alvion Properties’ assets, trade name, confidential and proprietary business information
(including appraisals, geology reports, mining plans, business contacts, financial information and
information pertaining to Alvion Properties’ financial dealings), trade secrets and goodwill, (11)
the revenues and profits generated by using such stolen and converted assets, trade name,
confidential and proprietary business information (including appraisals, geology reports, mining
plans, business contacts, financial information and information pertaining to Alvion Properties’
financial dealings), trade secrets and goodwill, and (iii) the return on investment generated by the
assets, trade name, confidential and proprietary business information (including appraisals,
geology reports, mining plans, business contacts, financial information and information
pertaining to Alvion Properties’ financial dealings), trade secrets and goodwill described in (i)
and (ii). Accordingly, Plaintiffs seek to impose a constructive trust over (and recover) all
amounts by which Defendants have been unjustly enriched.

RELIEF REQUESTED

108. The preceding factual statements and allegations are incorporated herein by
reference.

109. ACTUAL AND CONSEQUENTIAL DAMAGES, As a direct and/or proximate result of

Defendants’ wrongful acts and practices, Plaintiffs sustained (and continue to sustain) actual

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and/or consequential damages in the form of, inter alia, the (i) stolen and converted Alvion
Properties’ assets, trade name, confidential and proprietary business information (including
appraisals, geology reports, mining plans, business contacts, financial information and
information pertaining to Alvion Properties’ financial dealings), trade secrets and goodwill, (ii)
revenues and profits generated by using such stolen and converted assets, trade name,
confidential and proprietary business information (including appraisals, geology reports, mining
plans, business contacts, financial information and information pertaining to Alvion Properties’
financial dealings), trade secrets and goodwill (including any and all related lost opportunity
costs), and (iii) return on investment generated by the assets, trade name, confidential and
proprietary business information (including appraisals, geology reports, mining plans, business
contacts, financial information and information pertaining to Alvion Properties’ financial
dealings), trade secrets and goodwill described in (i) and (ii). Alvion Properties is entitled to
damages for trade secret misappropriation including actual losses, Defendants’ unjust enrichment
and/or a reasonable royalty pursuant to Tenn. Code §47-25-1704 (2008). All of the damages
sustained by Plaintiffs were reasonably foreseeable by Defendants. Plaintiffs also are entitled to
the disgorgement by Defendants of all amounts by which they have been unjustly enriched by
their wrongful acts and practices.

110. EXEMPLARY DAMAGES. Defendants engaged in the above wrongful actions
willfully and/or with malice. Accordingly, Plaintiffs are entitled to an award of exemplary damages
against Defendants, not to exceed an amount of twice any award for actual losses, unjust enrichment
and/or a reasonable royalty for trade secret misappropriation, pursuant to Tenn. Code §47-25-1704

(2008).

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111. PUNITIVE DAMAGES. Defendants’ wrongful actions (and failure to disclose such
wrongful actions) were committed intentionally, willfully, with malice and/or with reckless
disregard for Plaintiffs’ rights and interests. Accordingly, Plaintiffs also are entitled to an award of
punitive damages against Defendants, both as punishment and to discourage such wrongful conduct
in the future.

112. INJUNCTIVE RELIEF. Defendants’ ongoing and continuing misappropriation,
unauthorized abstraction, unauthorized use and/or unauthorized dissemination of Alvion
Properties’ assets, trade name, confidential and proprietary business information (including
appraisals, geology reports, mining plans, business contacts, financial information and
information pertaining to Alvion Properties’ financial dealings), trade secrets and goodwill has
caused (and will continue to cause) Plaintiffs to suffer irreparable harm in the form of, inter alia,
wasted assets, lost financial opportunities, damage to Alvion Properties’ trade name in the
marketplace and damage to Plaintiffs’ business reputations. Such irreparable harm will not cease
unless and until enjoined by this Court. Plaintiffs, therefore, are entitled to a temporary
restraining order, temporary injunction, permanent injunction and/or such other affirmative relief
as appropriate pursuant to, inter alia, Tenn. Code §47-25-1703 (2008).

113. ATTORNEYS’ FEES AND EXPENSES. Defendants’ misappropriation of Alvion
Properties’ trade secrets has been (and continues to be) willful and malicious. As such, Plaintiffs
are entitled to recover their reasonable attorneys’ fees, litigation expenses and court costs

pursuant to, inter alia, Tenn. Code §47-25-1705 (2008).

* * *

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WHEREFORE, Plaintiffs request that Defendants be cited to appear and answer this

lawsuit and, upon final trial or hearing, judgment be awarded against Defendants, jointly and

severally, in favor of Plaintiffs, for:

(i) actual and/or consequential damages (including any and all related lost opportunity
costs), as set forth above, in an amount to be determined by the trier of fact but in
excess of seventy-five thousand dollars ($75,000.00) exclusive of interest and costs;

(ii) all amounts by which Defendants have been unjustly enriched;

(iii) | reasonable royalties pursuant to Tenn. Code §47-25-1704 (2008);

(iv) | exemplary damages pursuant to Tenn. Code §47-25-1704 (2008);

(iv) punitive damages;

(v) injunctive relief providing for all appropriate restrictions on Defendants’ future
conduct and/or activities;

(vi) an equitable accounting for all benefits, consideration and profits received, directly
or indirectly, by any of the Defendants, including the imposition of a constructive
trust, the voiding of unlawful transfers, and the disgorgement of all ill-gotten gains
and profits;

(vii) pre- and post-judgment interest at the highest legal rates or at a rate equal to
Defendants’ return on investment, whichever is greater;

(viii) reasonable and necessary attorneys’ fees and litigation expenses incurred through the
trial and any appeals of this case;

(ix) costs of suit; and

(x) such other and further relief to which Plaintiffs are justly entitled.

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JURY DEMAND

Plaintiffs respectfully demand a trial by jury on all of their claims and causes of action so

triable.

Respec

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